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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: February 11, 2020




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


 In re: TAGNETICS INC.,
                                                  Case No.   19‐30822

                                                  Judge Humphrey
                                                  Chapter 7




    Order Granting Petitioning Creditors’ Motion for Contempt (Doc. 145), Determining
    Additional Interest as a Remedy to Enforce Compliance, and Ordering Other Matters

        In accordance with the court’s concurrently filed Decision Granting Petitioning
 Creditors’ Motion for Contempt (Doc. 145) and Determining Additional Interest as a Remedy
 to Enforce Compliance, the Petitioning Creditors’ Motion to Hold Tagnetics in Indirect
 Contempt (doc. 145) is granted.

      Accordingly, IT IS ORDERED that Tagnetics Inc. shall pay to the Petitioning Creditors
 compensatory damages as follows:

    1. Tagnetics shall, within 30 days of the entry of this order, pay to each Petitioning
       Creditor the amounts past due under the Order Granting in Part Tagnetics’ Motion to
       Enforce Settlement Agreement (doc. 119) (the “Settlement Enforcement Order”)
       ($30,000 to each Creditor), plus the interest that has accrued, starting 3 business
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        days after the Settlement Enforcement Order was entered, at the Federal Judgment
        Interest rate provided under 28 U.S.C. § 1961.

    2. To the extent that all sums due in paragraph 1 are not timely paid, additional interest
       at the rate of 5% per annum, simple interest, compounded monthly, shall commence
       on the 31st day following the entry of this order and shall continue until all past due
       sums are paid.

    3. Interest shall accrue on all future sums due under the Settlement Enforcement Order,
       from the time those sums first become due, at the Federal Judgment Interest rate
       provided under 28 U.S.C. § 1961, plus 5% per annum, simple interest, compounded
       monthly, until such sums are paid in full.

    4. In the event that a stay pending appeal is issued, the additional 5% interest shall not
       be due or accumulate from the time the stay first becomes effective until the stay
       terminates.

 To the extent that there are any differences between the court’s decision and this order, any
 such differences are inadvertent and this order shall constitute the decision of the court and
 shall govern.

        IT IS SO ORDERED.

 Copies to: All Creditors and Parties in Interest, Plus

 Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130
 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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